Case 2:25-cv-01963-MEF-MAH            Document 108        Filed 03/24/25   Page 1 of 23 PageID:
                                             477



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


       Mahmoud KHALIL,

                     Petitioner,

       v.
                                                           Case No. 25-cv-1963 (MEF) (MAH)
       Donald J. TRUMP, in his official capacity as
       President of the United States; William P.          REPLY TO RESPONDENTS’
       JOYCE, in his official capacity as Acting Field     OPPOSITION TO PETITIONER’S
       Office Director of New York, Immigration and        MOTION FOR RELEASE UNDER
       Customs Enforcement1; Caleb VITELLO, Acting         LUCAS V. HADDEN AND MAPP V.
       Director, U.S. Immigration and Customs              RENO
       Enforcement; Kristi NOEM, in her official
       capacity as Secretary of the United States          ORAL ARGUMENT REQUESTED
       Department of Homeland Security; Marco
       RUBIO, in his official capacity as Secretary of
       State; and Pamela BONDI, in her official
       capacity as Attorney General, U.S. Department of
       Justice,

                     Respondents.




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 1
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Case 2:25-cv-01963-MEF-MAH          Document 108   Filed 03/24/25      Page 2 of 23 PageID:
                                           478



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Case 2:25-cv-01963-MEF-MAH                           Document 108                 Filed 03/24/25              Page 3 of 23 PageID:
                                                            479




                                                    TABLE OF CONTENTS

 TABLE OF AUTHORITIES .......................................................................................................... ii
 INTRODUCTION .......................................................................................................................... 1
 ARGUMENT .................................................................................................................................. 2
     I.    THIS COURT SHOULD NOT DEFER DECISION ON THIS MOTION. ....................... 2
     II. NOTHING ELIMINATES THIS COURT’S INHERENT AUTHORITY TO RELEASE
         MR. KHALIL PENDING ADJUDICATION OF HIS HABEAS PETITION. .................. 3
           A.       COURTS HAVE INHERENT AUTHORITY TO ORDER RELEASE OF
                    PETITIONERS IN IMMIGRATION HABEAS CASES. ......................................... 3
           B.       NONE OF THE JURISDICTIONAL BARS CITED BY RESPONDENTS APPLY
                    TO MR. KHALIL’S CHALLENGES TO HIS DETENTION. ................................. 4
     III. THIS COURT SHOULD EXERCISE ITS INHERENT AUTHORITY TO RELEASE
          MR. KHALIL PENDING ADJUDICATION OF HIS HABEAS PETITION. .................. 7
 CONCLUSION ............................................................................................................................. 12




                                                                       i
Case 2:25-cv-01963-MEF-MAH                           Document 108                Filed 03/24/25             Page 4 of 23 PageID:
                                                            480



                                                TABLE OF AUTHORITIES
                                                                                                                                Page(s)
 Cases

 Al–Siddiqi v. Achim,
    531 F.3d 490 (7th Cir. 2008) .....................................................................................................7

 Ashley v. Ridge,
    288 F. Supp. 2d 662 (D.N.J. 2003) ............................................................................................6

 Bello-Reyes v. Gaynor,
     985 F.3d 696 (9th Cir. 2021) ...............................................................................................7, 10

 Bridges v. Wixon,
    326 U.S. 135 (1945) ...................................................................................................................9

 Chehazeh v. AG,
    666 F.3d 118 (3d Cir. 2012).......................................................................................................5

 D’Alessandro v. Mukasey,
    No. 08 Civ. 914, 2009 WL 799957 (W.D.N.Y. Mar. 25, 2009) ..............................................12

 Demore v. Kim,
   538 U.S. 510 (2003) .............................................................................................................7, 11

 Elkimya v. Dep’t of Homeland Sec.,
     484 F.3d 151 (2d Cir. 2007) ......................................................................................................4

 EOHC v. Sec’y of DHS,
   950 F.3d 177 (3d Cir. 2020) ......................................................................................................5

 Grant v. Zemski,
    54 F. Supp. 2d 437 (E.D. Pa. 1999) ...........................................................................................6

 Gutierrez-Soto v. Sessions,
    317 F. Supp. 3d 917 (W.D. Tex. 2018)......................................................................................7

 Guzman v. Moshannon Valley Processing Ctr.,
    Civ. Act. No. 24-1054 (JKS), 2024 WL 1251170 (D.N.J. Mar. 22, 2024)................................3

 Hall v. San Francisco Superior Ct.,
    No. C 09-5299 PJH, 2010 WL 890044 (N.D. Cal. Mar. 8, 2010) ...........................................12

 Han Tak Lee v. Cameron,
    No. 4:08-CV-1972, 2014 WL 4187590 (M.D. Pa. Aug. 22, 2014) .........................................12

 INS v. St. Cyr,
    533 U.S. 289 (2001) ...................................................................................................................4


                                                                     ii
Case 2:25-cv-01963-MEF-MAH                           Document 108                Filed 03/24/25             Page 5 of 23 PageID:
                                                            481



 Jean-Claude W. v. Anderson,
    No. 19-16282 (KM), 2021 WL 82250 (D.N.J. Jan. 11, 2021) ..................................................6

 Jelani B. v. Anderson,
     No. 20-6459 (SDW), 2020 WL 5560161 (D.N.J. Sept. 17, 2020) ............................................6

 Jennings v. Rodriguez,
    583 U.S. 281 (2018) ...............................................................................................................4, 5

 Jimenez-Angeles v. Ashcroft,
    291 F.3d 594 (9th Cir. 2002) .....................................................................................................7

 Johnson v. Guzman Chavez,
    141 S. Ct. 2271 (2021) ...............................................................................................................5

 Johnston v. Marsh,
    227 F.2d 528 (3d Cir. 1955)...................................................................................................3, 8

 Landano v. Rafferty,
    970 F.2d 1230 (3d Cir. 1992).................................................................................................8, 9

 Leslie v. Holder,
    865 F. Supp. 2d 627 (M.D. Pa. 2012) ..................................................................................8, 12

 Mapp v. Reno,
   241 F.3d 221 (2d Cir. 2001)...............................................................................................3, 4, 8

 Massieu v. Reno,
   91 F.3d 416 (3d Cir. 1996).........................................................................................................5

 Moss v. Miniard,
   No. 18-CV-11697, 2024 WL 4326813 (E.D. Mich. Sept. 27, 2024) .......................................12

 Nielsen v. Preap,
    586 U.S. 392 (2019) ...................................................................................................................5

 Nieves v. Bartlett,
    587 U.S. 391 (2019) .................................................................................................................10

 Osorio-Martinez v. Att’y Gen. of U.S. of Am.,
    893 F.3d 153 (3d Cir. 2018).......................................................................................................7

 Patel v. Barr,
    No. CV 20-3856, 2020 WL 4700636 (E.D. Pa. Aug. 13, 2020) ................................................4

 Ragbir v. Homan,
    923 F.3d 53 (2d Cir. 2019)...................................................................................................9, 10




                                                                     iii
Case 2:25-cv-01963-MEF-MAH                              Document 108                 Filed 03/24/25               Page 6 of 23 PageID:
                                                               482



 Rado v. Manson,
    435 F. Supp. 349 (D. Conn. 1977) ...........................................................................................12

 Rauda v. Jennings,
    55 F.4th 773 (9th Cir. 2022) .....................................................................................................7

 Reno v. AADC,
    525 U.S. 471 (1999) ...............................................................................................................6, 7

 Sanchez v. Winfrey,
    No. CIV.A.SA04CA0293RFNN, 2004 WL 1118718 (W.D. Tex. Apr. 28,
    2004) ........................................................................................................................................12

 Sean B. v. McAleenan,
    412 F. Supp. 3d 472 (D.N.J. 2019) ...........................................................................................7

 Singh v. Holder,
    638 F.3d 1196 (9th Cir. 2011) ...................................................................................................7

 Sylvain v. Att’y Gen. of U.S.,
     714 F.3d 150 (3d Cir. 2013).......................................................................................................7

 Tazu v. Att’y Gen. of U.S.,
    975 F.3d 292 (3d Cir. 2020) ......................................................................................................7

 United States v. Nkanga,
    452 F. Supp. 3d 91 (S.D.N.Y. 2020) .......................................................................................12

 United States v. Ruiz,
    536 U.S. 622 (2002) ...................................................................................................................3

 Zadvydas v. Davis,
    533 U.S. 678 (2001) .................................................................................................................11

 Statutes

 8 C.F.R. § 1003.19 ...........................................................................................................................6

 8 U.S.C. § 1182 ..............................................................................................................................10

 8 U.S.C. § 1226 ............................................................................................................................4, 7

 8 U.S.C. § 1252 ....................................................................................................................4, 5, 6, 7

 28 U.S.C. § 2243 ..............................................................................................................................3




                                                                         iv
Case 2:25-cv-01963-MEF-MAH                         Document 108               Filed 03/24/25            Page 7 of 23 PageID:
                                                          483



 Other authorities

 Declaration of Mahmoud Khalil, Khalil v. Trs. of Columbia Univ. in City of N.Y.,
    No. 25-2079 (S.D.N.Y. Mar. 19, 2025), ECF 16.7 ..................................................................11

 Transcript: Secretary of State Marco Rubio on Face the Nation with Margaret
    Brennan: March 16, 2025, CBS News (Mar. 16, 2025, 3:28PM EDT),
    https://www.cbsnews.com/news/marco-rubio-secretary-of-state-face-the-
    nation-transcript-03-16-2025/ ....................................................................................................1




                                                                   v
Case 2:25-cv-01963-MEF-MAH            Document 108        Filed 03/24/25      Page 8 of 23 PageID:
                                             484



                                        INTRODUCTION

        It is uncontested that Petitioner Mahmoud Khalil is neither a flight risk nor a danger to the

 community. The evidence presented in this case—core bail factors which Respondents do not

 challenge in their opposition to his release, ECF 99—demonstrates that Mr. Khalil is a lawful

 permanent resident with no criminal record; a loving and devoted husband to his pregnant U.S.

 citizen wife; a kind and thoughtful classmate, student, colleague, and friend; and a dedicated

 Palestinian human rights defender who has spoken out about Palestinian rights alongside people

 of diverse backgrounds, beliefs, and perspectives. ECF 56-2, 56-6, 93-1.

        Respondents have imprisoned Mr. Khalil not because he is a flight risk or danger, but to

 punish him for his speech and to suppress campus protest in support of Palestinian rights. Unlike

 the myriad other cases Respondents cite, the purpose of Mr. Khalil’s detention has been made

 plain by Respondents’ own statements, Am. P. ¶¶ 29-33, 73-81, which make the First Amendment

 and Due Process issues here even more clear than in the contexts where the Department of

 Homeland Security (DHS) solely claims pretextual reasons, later rejected by federal courts, for its

 actions.2 Whatever discretion the federal government may have to detain a petitioner pending

 removal proceedings, it never has discretion to violate the U.S. Constitution.

        Respondents make a series of extraordinary arguments in an attempt to eliminate or, at

 least, diminish this Court’s inherent authority to order Mr. Khalil’s release pending the

 adjudication of his habeas petition. First, they ask this Court to await the adjudication of


 2
  See also Transcript: Secretary of State Marco Rubio on Face the Nation with Margaret Brennan:
 March       16,    2025,      CBS       News      (Mar.       16,    2025,      3:28PM      EDT),
 https://www.cbsnews.com/news/marco-rubio-secretary-of-state-face-the-nation-transcript-03-16-
 2025/ (“If [Mr. Khalil] had told us I’m going over there, and I’m going over there to become the
 spokesperson and one of the leaders of a movement that’s going to turn one of your allegedly elite
 colleges upside down, people can’t even go to school, library buildings being vandalized. We never
 would have let him in. […] And now that he’s doing it and he’s here, he’s going to leave, and so
 are others, and we’re going to keep doing it.”).


                                                  1
Case 2:25-cv-01963-MEF-MAH             Document 108          Filed 03/24/25      Page 9 of 23 PageID:
                                              485



 Respondents’ second motion to dismiss or transfer this case, even though Judge Furman’s decision

 is law of the case under binding Third Circuit precedent. Second, they raise a string of jurisdictional

 arguments that have no application to a challenge to the legality of detention, as the Supreme Court

 has repeatedly held, and which, if applied here, would violate Article III, the First Amendment,

 the Fifth Amendment, and the Suspension Clause because they would provide Mr. Khalil with no

 forum to challenge the legality of his detention. Respondents leave to a footnote their contention

 that Mr. Khalil cannot even ask an Immigration Judge for bond. Under Respondents’ own position,

 this Court is the only forum by which Mr. Khalil can seek redress for his detention challenges.

 Finally, they suggest that even if this Court does have jurisdiction over his challenge to his

 detention, he does not meet the standards for release under applicable case law—even going so far

 as to suggest that this Court lacks the inherent authority to release Mr. Khalil because this is a civil

 immigration (not criminal) habeas petition, when in fact courts have applied even more flexible

 standards to permit release in civil immigration habeas petitions precisely because there is no past

 adjudication of guilt or imposition of sentence being disturbed.

        Under any standard, Mr. Khalil’s case meets the standard for release. As a result of

 Respondents’ decision to make a highly publicized example of Mr. Khalil, the world is watching

 to see if Mr. Khalil’s fundamental rights will be preserved or if, instead, he will remain imprisoned

 throughout this litigation. This Court should reject Respondents’ arguments and exercise its

 inherent authority to restore Mr. Khalil to his freedom—the status he had prior to the present

 controversy, and the only status that is constitutionally justified—pending further adjudication.

                                             ARGUMENT

 I.      THIS COURT SHOULD NOT DEFER DECISION ON THIS MOTION.

         This Court should not delay its decision on release pending its adjudication of

 Respondents’ second motion to dismiss in this case. Judge Furman’s decision on venue is law of


                                                    2
Case 2:25-cv-01963-MEF-MAH             Document 108         Filed 03/24/25      Page 10 of 23 PageID:
                                              486



 the case, and Respondents’ claims are wrong on the merits of their venue argument. ECF 90.3 This

 Court has “jurisdiction to determine its own jurisdiction,” United States v. Ruiz, 536 U.S. 622, 628

 (2002), and the fact that Respondents’ seek to relitigate this issue is reason to move forward with,

 rather than delay, pendente lite relief.

 II.     NOTHING ELIMINATES THIS COURT’S INHERENT AUTHORITY TO
         RELEASE MR. KHALIL PENDING ADJUDICATION OF HIS HABEAS
         PETITION.

         A. COURTS HAVE INHERENT AUTHORITY TO ORDER RELEASE OF
            PETITIONERS IN IMMIGRATION HABEAS CASES.

         Respondents wrongly suggest that federal courts’ inherent authority to release habeas

 petitions on bail has been eliminated by statute or is somehow confined to the criminal habeas

 context. ECF 99 at 5-6, 16. As the Third Circuit has explained in Johnston v. Marsh:

         One of the inherent powers of the judiciary with regard to proceedings before it has
         been the admission of a prisoner to bail where, in the exercise of his discretion, the
         judge deems it advisable. It is clear that at common law courts had the inherent
         power to grant bail. Our Federal judiciary has consistently recognized that at
         common law this inherent power existed. . . . We believe that the basic
         misconception in [] decisions denying this authority lies in their view that since
         Federal courts have limited, statutory jurisdiction, their powers in proceedings
         involving this jurisdiction are necessarily limited and must be statutory. This, as
         already indicated, is not our view of the matter.

 227 F.2d 528, 531 (3d Cir. 1955). This principle applies to the civil habeas statute, id. at 530 (citing

 28 U.S.C. § 2243), which is the statute under which petitioners may seek to challenge their

 immigration detention. See Mapp v. Reno, 241 F.3d 221 (2d Cir. 2001) (describing courts’ inherent

 authority to release immigrants on bail). Respondents argue that the Second Circuit “recognized

 that it cannot override a statute to grant relief” and therefore Mapp v. Reno is no longer good law

 after the REAL ID Act. ECF 99 at 14. Respondents fail to mention that the Second Circuit has


 3
   Nor does the single case Respondents cite in its section seeking delay have anything to do with
 the inherent authority to release a petitioner pendente lite. Guzman v. Moshannon Valley
 Processing Ctr., Civ. Act. No. 24-1054 (JKS), 2024 WL 1251170, at *1 (D.N.J. Mar. 22, 2024).


                                                    3
Case 2:25-cv-01963-MEF-MAH            Document 108        Filed 03/24/25      Page 11 of 23 PageID:
                                             487



 already rejected this precise argument. See Elkimya v. Dep’t of Homeland Sec., 484 F.3d 151, 154

 (2d Cir. 2007) (discussing Mapp and holding that the REAL ID Act of 2005 “did not qualify our

 inherent authority to admit bail to petitioners in immigration cases”). None of the statutory

 provisions cited by Respondent in 8 U.S.C. § 1252, as amended by the REAL ID Act, make any

 reference to courts’ inherent authority, and therefore impose no limitation to that authority. Id.

        B. NONE OF THE JURISDICTIONAL BARS CITED BY RESPONDENTS
           APPLY TO MR. KHALIL’S CHALLENGES TO HIS DETENTION.

        Even if this Court’s inherent authority could be limited by statute, none of the provisions

 cited by Respondents forbid release. This Court should reject Respondents’ attempt to shoehorn

 this challenge to Mr. Khalil’s detention into various jurisdiction-channeling and jurisdiction-

 stripping provisions in 8 U.S.C. §§ 1252(a)(5), (b)(9), (g), 1226(e).4 The Supreme Court has

 repeatedly rejected these arguments, and the Third Circuit has interpreted these provisions

 narrowly. Respondents’ arguments, which ignore precedent, raise serious constitutional concerns.

        First, the jurisdiction-channeling provisions in §§ 1252(a)(5) and (b)(9) have no

 application to a petitioner’s challenge to the legality of his detention. Section 1252(a)(5) applies

 only to review of final orders of removal. See, e.g., INS v. St. Cyr, 533 U.S. 289, 311, 313 (2001)

 (§ 1252(a) applies to “[j]udicial review of a final order of removal”); Patel v. Barr, No. CV 20-

 3856, 2020 WL 4700636, at *3 (E.D. Pa. Aug. 13, 2020) (§ 1252(a)(5) does not apply where

 petitioner is not challenging “order of removal”). There has been no such order issued in Mr.

 Khalil’s case, and his challenge to detention does not involve review of any such order: §

 1252(a)(5) is inapplicable. Nor does § 1252(b)(9) preclude review. The Supreme Court explained

 in Jennings v. Rodriguez, 583 U.S. 281 (2018), that “the applicability of § 1252(b)(9) turns on



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   These bars do not apply to any of Petitioner’s claims, as will be addressed in the preliminary
 injunction briefing.


                                                   4
Case 2:25-cv-01963-MEF-MAH            Document 108        Filed 03/24/25      Page 12 of 23 PageID:
                                             488



 whether the legal questions that we must decide ‘aris[e] from’ the actions taken to remove”

 noncitizens, and construed that phrase narrowly to avoid “extreme” results that would render

 claims of “excessive detention” “effectively unreviewable.” Id. at 293; see also Nielsen v. Preap,

 586 U.S. 392, 399-400, 402 (2019) (finding that § § 1252(b)(9) did not preclude review of

 detention challenge); Johnson v. Guzman Chavez, 141 S. Ct. 2271, 2284 n.4 (2021) (same).

        Respondents rely on Massieu v. Reno, 91 F.3d 416 (3d Cir. 1996), but even there the Third

 Circuit ordered the petitioner’s release on bail pending its adjudication of the case, id. at 419.

 Moreover, Massieu’s ultimate holding is inapplicable to Mr. Khalil’s challenge to detention,

 because none of the statutory provisions analyzed in Massieu apply to challenges to detention at

 all.5 It is true that if Mr. Khalil prevails on his challenges to removal and any appeals, he will

 eventually be released from detention. But his current habeas challenge is a “now or never” claim:

 he is arguing that his present confinement is unconstitutional. See, e.g., EOHC v. Sec’y of DHS,

 950 F.3d 177, 180 (3d Cir. 2020) (“When a detained alien seeks relief that a court of appeals cannot

 meaningfully provide on petition for review of a final order of removal, § 1252(b)(9) does not bar

 consideration by a district court.”); see also id. at 184-86; see also Chehazeh v. AG, 666 F.3d 118,

 131 (3d Cir. 2012) (construing § 1252(b)(9) narrowly). Here, just as in Jennings, denying

 jurisdiction to challenge detention until it has “already taken place” would render such detention

 “effectively unreviewable.” 583 U.S. at 293.



 5
   As addressed in preliminary injunction briefing, Massieu is distinguishable with respect to all of
 Petitioner’s claims for several reasons, not least because Mr. Khalil is not directly challenging his
 removal proceedings or facially challenging any statute in the Immigration and Nationality Act.
 Rather, his challenges to Respondents’ policy to retaliate against and punish noncitizens for their
 participation in protests concerning Israel’s military campaign in Gaza and his own detention are
 collateral to his removal proceedings and would not receive meaningful review if limited to the
 administrative review process. See EOHC, 950 F.3d at 180 (holding statutory exhaustion
 requirement does not bar district court review “[w]hen a detained alien seeks relief that a court of
 appeals cannot meaningfully provide on petition for review of a final order of removal”).


                                                  5
Case 2:25-cv-01963-MEF-MAH             Document 108         Filed 03/24/25      Page 13 of 23 PageID:
                                              489



         Respondents assert in a footnote that Mr. Khalil is able to “challenge his custody

 determination” but that such review is limited to the question of “whether he is properly subject to

 his removal provision” under 8 § C.F.R. 1003.19(h)(2)(ii). ECF 99 at 16 n.5. By citing that

 provision, Respondents take the position that Mr. Khalil is not permitted to seek an ordinary

 custody redetermination from an immigration judge under 8 § C.F.R. 1003.19(a) because he is

 being charged under the foreign policy bar. Id. at § 1003.19(h)(2)(i)(C). Under Respondents’

 position, an immigration judge can neither issue him bond nor consider any of the constitutional

 claims Mr. Khalil presses here. ECF 99 at 8.6

        Second, the jurisdiction-stripping provision in 8 U.S.C. § 1252(g) has no application to a

 petitioner’s challenge to the legality of his detention. This provision is tethered solely to the “three

 discrete actions” referenced in 8 U.S.C. § 1252(g). Reno v. AADC, 525 U.S. 471, 482 (1999). It

 therefore does not alter a court’s jurisdiction to review “many other decisions or actions that may

 be part of the deportation process—such as the decisions to open an investigation, to surveil the

 suspected violator, to reschedule the deportation hearing, to include various provisions in the final



 6
   To the extent Respondents argue in a footnote (ECF 99 at 16 n.5) that Mr. Khalil must first
 exhaust a challenge to his removal grounds before seeking to challenge his detention, he does not.
 See Ashley v. Ridge, 288 F. Supp. 2d 662, 666-67 (D.N.J. 2003) (no exhaustion requirement where
 petitioner raises constitutional claims); Grant v. Zemski, 54 F. Supp. 2d 437, 441-442 & n.5 (E.D.
 Pa. 1999) (no statutory exhaustion requirement for detention challenges and any prudential
 exhaustion requirement is inapplicable where it would cause undue burden to petitioner or be
 futile). Mr. Khalil raises constitutional challenges to his present confinement and any exhaustion
 would be futile and burdensome. Nor can he raise detention challenges in a petition for review,
 because a custody determination is not a removal order under 8 U.S.C. § 1252. The two cases cited
 by Respondents are distinguishable because they involve petitioners whom the government
 provided, or conceded were eligible for, bond hearings. See Jean-Claude W. v. Anderson, No. 19-
 16282 (KM), 2021 WL 82250, at *2 (D.N.J. Jan. 11, 2021) (holding that petitioner who received
 habeas relief in the form of a bond hearing but was denied bond was required to appeal the bond
 decision to the Board of Immigration Appeals); Jelani B. v. Anderson, No. 20-6459 (SDW), 2020
 WL 5560161, at *2 (D.N.J. Sept. 17, 2020) (holding that pro se petitioner who challenged his
 detention based on his mistaken belief that he was subject to mandatory detention was eligible for
 and required to first seek a bond hearing before the immigration judge).


                                                    6
Case 2:25-cv-01963-MEF-MAH             Document 108         Filed 03/24/25      Page 14 of 23 PageID:
                                              490



 order that is the product of the adjudication, and to refuse reconsideration of that order.” Id. at 483.

 Another action not described in § 1252(g) is the decision to detain. Appropriately, courts have

 readily found habeas jurisdiction over challenges to retaliatory detention. See, e.g., Bello-Reyes v.

 Gaynor, 985 F.3d 696, 698 (9th Cir. 2021) (addressing merits of First Amendment challenge to

 ICE detention); Gutierrez-Soto v. Sessions, 317 F. Supp. 3d 917, 921 (W.D. Tex. 2018) (addressing

 merits of First Amendment challenge to ICE detention).7

        Third, 8 U.S.C. § 1226(e) has no application to a petitioner’s challenge to the legality of

 his detention. See Demore v. Kim, 538 U.S. 510, 516-17 (2003); see also Sylvain v. Att’y Gen. of

 U.S., 714 F.3d 150, 155 (3d Cir. 2013) (citing Singh v. Holder, 638 F.3d 1196, 1202 (9th Cir.

 2011) (“[Section 1226(e)] does not limit habeas jurisdiction over constitutional claims or questions

 of law.”); Al–Siddiqi v. Achim, 531 F.3d 490, 494 (7th Cir. 2008) (“[T]his section ... does not

 deprive us of our authority to review statutory and constitutional challenges.”)).



 III.   THIS COURT SHOULD EXERCISE ITS INHERENT AUTHORITY TO
        RELEASE MR. KHALIL PENDING ADJUDICATION OF HIS HABEAS
        PETITION.



 7
   Rather than addressing the case law on detention, Respondents rely heavily on cases like Tazu v.
 Att’y Gen. of U.S., 975 F.3d 292 (3d Cir. 2020), Rauda v. Jennings, 55 F.4th 773 (9th Cir. 2022),
 and Jimenez-Angeles v. Ashcroft, 291 F.3d 594 (9th Cir. 2002), but the petitioners in those cases
 were not seeking release from detention. Release from detention—which is the core of what Judge
 Furman has already ruled this case is about—is what the Great Writ is for, and Respondents’
 arguments, if applied here, would raise serious constitutional concerns. This is also true with
 respect to challenges to deportation where there is similarly no adequate substitute for habeas. See
 Osorio-Martinez v. Att’y Gen. of U.S. of Am., 893 F.3d 153, 167 (3d Cir. 2018) (holding that
 petitioners who have significant ties to the U.S. and are accorded important statutory and
 procedural protections are entitled to invoke the Suspension Clause and petition federal courts for
 a writ of habeas corpus and that “INA’s jurisdiction-stripping provisions effect an unconstitutional
 suspension of the writ” when the challenged removal regime did not provide an adequate substitute
 process); Sean B. v. McAleenan, 412 F. Supp. 3d 472, 484-90 (D.N.J. 2019) (applying Suspension
 Clause to protect review). Respondents’ arguments raise grave constitutional concerns, not only
 under the Suspension Clause, but under Article III and the First and Fifth Amendments themselves.


                                                    7
Case 2:25-cv-01963-MEF-MAH            Document 108         Filed 03/24/25       Page 15 of 23 PageID:
                                             491



         Turning to the merits of the bail application, Respondents argue that Mr. Khalil does not

 merit release. They begin by suggesting Mr. Khalil must meet the strictest version of the standard

 for release on bail, which courts in the Third Circuit have applied to criminal habeas petitions.

 ECF 99 at 16 (citing Landano v. Rafferty, 970 F.2d 1230, 1239 (3d Cir. 1992), and several “state

 prisoner” cases as requiring “both a substantial constitution claim upon which he has a high

 likelihood of success and extraordinary circumstances”). Mr. Khalil can and does meet that

 standard, ECF 93, but the Landano standard is inapplicable here. The Third Circuit, citing the civil

 habeas statute, presented the overarching bail standard as “where, in the exercise of his discretion,

 the judge deems it advisable.” Johnston, 227 F.2d at 531. Moreover, Mapp v. Reno is persuasive

 authority on how the standard applies in immigration cases. See Leslie v. Holder, 865 F. Supp. 2d

 627, 634 (M.D. Pa. 2012) (relying on Mapp and describing the standard as “whether the habeas

 petition raises substantial claims and whether extraordinary circumstances exist that make the

 grant of bail necessary to make the habeas remedy effective”) (citations omitted) (cleaned up).

 Unlike a criminal habeas adjudication in which a court of law has already tried and sentenced an

 individual for a crime and the individual is seeking release pending a post-conviction habeas

 petition, here, Mr. Khalil is being detained on unproven civil immigration charges and is

 challenging the constitutionality of his ongoing detention in the only forum that is empowered to

 consider the constitutional claims raised here. Release on bail is as reasonable here as it would be

 pre-trial in a criminal case.

         Under any standard, however, Mr. Khalil merits release pending adjudication of his habeas

 petition. As noted above, none of Respondents’ jurisdictional arguments apply to his challenge to

 detention. See supra Point II. In terms of the merits of his claims, Petitioner asserts that all of his

 claims are substantial and present a clear basis for habeas relief. ECF 93. Even under the




                                                   8
Case 2:25-cv-01963-MEF-MAH            Document 108         Filed 03/24/25      Page 16 of 23 PageID:
                                             492



 heightened standard in Landano, his First and Fifth Amendment challenges to his ongoing

 detention are substantial constitution claims upon which he has a high likelihood of success.

 Respondents have made plain their basis for Mr. Khalil’s detention—his speech regarding Israel

 and Palestine. This violates the First Amendment.8 As the Second Circuit held in Ragbir v. Homan,

 “[t]o allow this retaliatory conduct to proceed would broadly chill protected speech, among not

 only activists subject to . . . deportation but also those citizens and other residents who would fear

 retaliation against others.” 923 F.3d 53, 71 (2d Cir. 2019), judgment vacated sub nom. Pham v.

 Ragbir, 141 S. Ct. 227 (2020) (vacating on other grounds).

        Furthermore, Respondents’ claim that there are facially legitimate reasons for Mr. Khalil’s

 detention and that the added charges of removability to Mr. Khalil’s Notice to Appear, more than

 one week after he was detained, weaken his First Amendment claim. Respondents’ arguments

 strain credulity. The government attempts to sanitize its unconscionable weaponization of the

 INA’s foreign policy provision by pointing to meritless post-hoc allegations levied against Mr.

 Khalil several days after he was detained and initially charged with removability. Moreover, the




 8
   Respondents attempt to diminish the protections afforded by the First Amendment upon all
 peoples in the United States, citizens and noncitizens alike, see Bridges v. Wixon, 326 U.S. 135,
 148 (1945), by suggesting that the Respondents’ mere invocation of national security or foreign
 policy implications suspends those protections. ECF 99 at 24-25. But the government cannot
 justify the overt suppression of disfavored views that are otherwise protected by the First
 Amendment with the magic words “foreign policy,” a category that can be stretched to cover
 almost any issue of national (let alone international) concern. Indeed, the Supreme Court in
 Bridges reaffirmed non-citizens’ First Amendment rights in a case in which foreign policy and
 national security concerns—namely, affiliation with the Communist Party—were at issue. 326
 U.S. at 137–138, 142. Here, Respondents’ many statements about Mr. Khalil’s detention make
 plain that Mr. Khalil was targeted for detention because of his constitutionally-protected speech
 for Palestinian rights and criticizing the State of Israel. If Respondents’ theory about the First
 Amendment were correct, then noncitizens, including lawful permanent residents, would be free
 to express only their enthusiastic support for the Administration and its policies. Such abuse of the
 Administration’s removal powers to silence dissent and distort public debate in its favor would
 undermine the entire purpose of the First Amendment.


                                                   9
Case 2:25-cv-01963-MEF-MAH             Document 108         Filed 03/24/25       Page 17 of 23 PageID:
                                              493



 charges evince that the government is seeking to remove him for “beliefs, statements, or

 associations [that] would be lawful within the United States.” 8 U.S.C. § 1182(a)(3)(C)(iii). The

 charges are a continuation of Respondents’ retaliation against Mr. Khalil for his First Amendment-

 protected speech and activity, and underscore, rather than, diminish the First Amendment issues

 in this case.9

         Petitioner also presents substantial due process challenges to his detention. Respondents

 acknowledge, and yet do not challenge, Petitioner’s argument that he is not a flight risk or danger

 to the community. ECF 99 at 26 (acknowledging and not challenging Petitioner’s argument “that

 is not a flight risk or a danger to the community,” stating only that “personal hardships are not the

 sort that give rise to relief”). Respondents argue that his detention is authorized because he is

 facing removal—but the fact that he faces removal cannot justify detention if he is neither a flight

 risk nor danger to the community. Zadvydas v. Davis, 533 U.S. 678, 693 (2001) (explaining that




 9
   Respondents briefly state that its justifications for removability are “preclusive” of his First
 Amendment claims under Nieves v. Bartlet, 587 U.S. 391, 204 (2019). Nieves, however, is a §
 1983 damages case that addresses individual officer liability for past conduct where probable cause
 exists for arrest and does nothing to alter long-standing First Amendment jurisprudence prohibiting
 government officials from engaging in retaliation. See Nieves, 587 U.S at 412-413 (Gorsuch, J.,
 concurring) (“Both sides accept that an officer violates the First Amendment when he arrests an
 individual in retaliation for his protected speech. . . . If the state could use these laws not for their
 intended purposes but to silence those who voice unpopular ideas, little would be left of our First
 Amendment liberties, and little would separate us from the tyrannies of the past or the malignant
 fiefdoms of our own age. . . .”). The Second and Ninth Circuits have thus rejected the argument
 that the purported existence of facially valid justifications for detention or deportation defeat a
 First Amendment claim. See Bello-Reyes v. Gaynor, 985 F.3d 696, 701 (9th Cir. 2021) (refusing
 to apply Nieves in part because “no equivalent benchmark [to probable cause] exists where ICE is
 revoking bond” and thus “extending [Nieves] to this situation would effectively eliminate almost
 any prospect of obtaining release on habeas for actually retaliatory, unconstitutional immigration
 bond revocation”); Ragbir, 923 F.3d at 67 & n.17 (noting that the probable cause requirement for
 the Fourth Amendment serves a specific purpose for securing an individual and evidence in the
 process of investigating a criminal offense, circumstances not readily translatable into the civil
 immigration context), judgment vacated sub nom. Pham v. Ragbir, 141 S. Ct. 227 (2020)
 (remanding on other grounds and refusing to grant certiorari on the basis of Nieves).


                                                    10
Case 2:25-cv-01963-MEF-MAH             Document 108         Filed 03/24/25      Page 18 of 23 PageID:
                                              494



 civil immigration detention is only justified based on flight risk and dangerousness). He has

 demonstrated a high likelihood of success that his detention is unconstitutional as applied to him:

 he is a lawful permanent resident whom the government concedes is neither a flight risk nor a

 danger to the community. While Respondents seem to believe that only more prolonged detention

 would give rise to a constitutional concern, due process is also violated where, as here, “detention

 is not to facilitate deportation, or to protect against risk of flight or dangerousness, but to

 incarcerate for other reasons.” Demore v. Kim, 538 U.S. 510, 532-33 (2003) (Kennedy, J.,

 concurring). Respondents have already made clear to the world that detention is for “other

 reasons,” and thus his detention fails to comport with due process. Id.

        Given these substantial claims and the others addressed in his motion, the only question is

 whether this case presents extraordinary circumstances that necessitate release to make the habeas

 remedy effective. It does. First, the Trump Administration is making an example out of Mr.

 Khalil’s ongoing detention, impeding his ability to participate in ongoing public dialogue about

 Israel and Palestine and chilling the speech of others with each passing day he remains detained.

 ECF 67 at 22-23; ECF 93 at 19-20. This is extraordinary, and Respondents have no response.

 Second, his detention is impeding his ability to access counsel and meaningfully participate in his

 defense. Respondents note that he is a plaintiff in a lawsuit against Columbia University, but that

 only underscores the burden that his detention has imposed on his ability to speak out and petition

 for redress of grievances in court: his declaration in support of that litigation was finalized prior to

 his detention, on March 2, 2025, and his detention has impeded his ability to participate in that

 litigation as well as this lawsuit. See Declaration of Mahmoud Khalil, Khalil v. Trs. of Columbia

 Univ. in City of N.Y., No. 25-2079 (S.D.N.Y. Mar. 19, 2025), ECF 16.7. Third, Mr. Khalil’s lack

 of flight risk and dangerousness—uncontested by Respondents—is an extraordinary circumstance,




                                                   11
Case 2:25-cv-01963-MEF-MAH           Document 108        Filed 03/24/25     Page 19 of 23 PageID:
                                            495



 as numerous courts have found.10 And while Respondents note that family separation is a

 “ubiquitous occurrence” in immigration cases, ECF 99 at 27, the widespread nature of this

 hardship makes the particular circumstances faced by Mr. Khalil no less extraordinary. Detention

 is preventing him from being present for his pregnant wife, who is at risk of preeclampsia, and the

 birth of their son. ECF 55 at ¶¶ 20-22. Pressing needs to care for family and health concerns are

 extraordinary circumstances, as Respondents note. ECF 99 at 29-30.

                                         CONCLUSION

        For the foregoing reasons, this motion should be granted, and this Court should order

 Respondents to release Mr. Khalil pending the adjudication of this case.



 Dated: March 24, 2025                                Respectfully submitted,
 New York, NY
                                                      /s/ Naz Ahmad




 10
    See, e.g., Leslie, 865 F. Supp. 2d at 638; Moss v. Miniard, No. 18-CV-11697, 2024 WL 4326813,
 at *5 (E.D. Mich. Sept. 27, 2024); United States v. Nkanga, 452 F. Supp. 3d 91, 96 (S.D.N.Y.
 2020); Han Tak Lee v. Cameron, No. 4:08-CV-1972, 2014 WL 4187590 (M.D. Pa. Aug. 22, 2014);
 Hall v. San Francisco Superior Ct., No. C 09-5299 PJH, 2010 WL 890044, at *13 (N.D. Cal. Mar.
 8, 2010); D’Alessandro v. Mukasey, No. 08 Civ. 914, 2009 WL 799957, at *3 (W.D.N.Y. Mar. 25,
 2009); Sanchez v. Winfrey, No. CIV.A.SA04CA0293RFNN, 2004 WL 1118718, at *3 (W.D. Tex.
 Apr. 28, 2004); Rado v. Manson, 435 F. Supp. 349, 350 (D. Conn. 1977).


                                                 12
Case 2:25-cv-01963-MEF-MAH   Document 108     Filed 03/24/25   Page 20 of 23 PageID:
                                    496



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                                     13
Case 2:25-cv-01963-MEF-MAH   Document 108     Filed 03/24/25    Page 21 of 23 PageID:
                                    497




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                                     14
Case 2:25-cv-01963-MEF-MAH   Document 108      Filed 03/24/25    Page 22 of 23 PageID:
                                    498




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                                     15
Case 2:25-cv-01963-MEF-MAH            Document 108         Filed 03/24/25      Page 23 of 23 PageID:
                                             499



                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY

  Mahmoud KHALIL,                                    Case No. 2:25-cv-01963-MEF

     Petitioner,                                     CERTIFICATE OF SERVICE

         v.

  Donald J. TRUMP, et al.,

     Respondents.


        I hereby certify that on March 24, 2025, I electronically filed a Reply Memorandum of

 Law in Support of Petitioner’s Motion for Release.

        Notice of this filing will be sent to all counsel of record in this case via the Court’s

 electronic filing system.


 Dated: March 24, 2025                         Respectfully Submitted,
 New York, NY

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